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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA

                        Plaintiff,                                    8:21MJ600

         vs.                                          ORDER ISSUED PURSUANT TO THE
                                                       DUE PROCESS PROTECTION ACT

DANIEL GUTIREZ
                        Defendant.




         This matter came before the Court for Initial Appearance on a Complaint. The government
was represented by Thomas J. Kangior. The defendant was present and represented by James R.
Kozel.
         IT IS ORDERED:
         Pursuant to the Due Process Protections Act, the Court confirms the United States'
obligation to disclose to the defendant all exculpatory evidence as required by Brady v. Maryland,
373 U.S. 83 (1963) and its progeny, and orders the United States to do so. Failure to disclose
exculpatory evidence in a timely manner may result in consequences, including, but not limited
to, exclusion of evidence, adverse jury instructions, dismissal of charges, contempt proceedings,
or sanctions by the Court.

         DATED: December 7, 2021.


                                                            BY THE COURT:

                                                            s/ Susan M. Bazis
                                                            United States Magistrate Judge
